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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

   Civil Action No. 09-cv-1796-REB-MEH

   ESTATE OF ANTHONY L. SIMS, By Kathie Sims as Personal Representative,

          Plaintiff,

   v.

   JEFFERSON COUNTY SHERIFF TED MINK, in his individual and official capacities,
   and
   JOHN DOE SHERIFF’S DEPUTY, in his individual and official capacities,

          Defendants.


                             ANSWER TO AMENDED COMPLAINT


          Defendant Jefferson County Sheriff Ted Mink (“Sheriff”), by and through the

   Jefferson County Attorney and Assistant County Attorneys Writer Mott and James

   Burgess, hereby answers the Amended Complaint and Jury Demand (the “Complaint”)

   of Plaintiff Estate of Anthony L. Sims (“Plaintiff”) as follows:

                                        I.     Introduction

          1.      The Sheriff admits that Anthony Sims (“Mr. Sims”) was being held at the

   Jefferson County Detention Facility (the “JCDF”) on allegations of aggravated sexual

   assault on a child as alleged in paragraph 1 of the Complaint. The Sheriff admits that

   Mr. Sims was housed in the protective custody module of the JCDF as alleged in

   paragraph 1 of the Complaint. The Sheriff admits that Shawn Shields (“Mr. Shields”)

   was also being held in the JCDF and that Mr. Shields had a history of violence and

   assault as alleged in paragraph 1 of the Complaint.           The Sheriff denies all of the
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   remaining allegations in paragraph 1 of the Complaint. The Sheriff further affirmatively

   alleges that Mr. Sims committed suicide and was not assaulted in the JCDF as alleged

   in paragraph 1 of the Complaint.

         2.     The Sheriff denies the allegations of paragraph 2 of the Complaint.

         3.     The Sheriff denies the allegations of paragraph 3 of the Complaint.

                               II.    Jurisdiction and Venue

         4.     The Sheriff admits that Plaintiff purports to bring this lawsuit pursuant to

   42 U.S.C. § 1983 (“Section 1983”) as alleged in paragraph 4 of the Complaint.

         5.     The Sheriff admits that venue is proper in the District of Colorado as

   alleged in paragraph 5 of the Complaint.

                                       III.   Parties

         6.     The Sheriff is without information or knowledge sufficient to admit or deny

   the allegations of paragraph 6 of the Complaint and therefore denies the same.

         7.     The Sheriff is without information or knowledge sufficient to admit or deny

   the allegations of paragraph 7 of the Complaint and therefore denies the same.

         8.     The Sheriff admits that Sheriff Mink is a citizen of the United States, a

   resident of Colorado, and was the elected Sheriff of Jefferson County, Colorado as is

   alleged in paragraph 8 of the Complaint.        The Sheriff is without information or

   knowledge sufficient to admit or deny the remaining allegations in paragraph 8 of the

   Complaint and therefore denies the same.

         9.     The Sheriff is without information or knowledge sufficient to admit or deny

   the allegations of paragraph 9 of the Complaint and therefore denies the same.




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                                 IV.   Factual Background

         10.    The Sheriff admits that Mr. Sims was held in the JCDF on charges of

   aggravated sexual assault on a child as alleged in paragraph 10 of the Complaint. The

   Sheriff is without information or knowledge sufficient to admit or deny the remaining

   allegations of paragraph 10 of the Complaint and therefore denies the same.

         11.    The Sheriff is without information or knowledge sufficient to admit or deny

   the allegations of paragraph 11 of the Complaint and therefore denies the same.

         12.    The Sheriff is without information or knowledge sufficient to admit or deny

   the allegations of paragraph 12 of the Complaint and therefore denies the same.

         13.    The Sheriff admits that Mr. Sims met with mental health care providers at

   the JCDF as alleged in paragraph 13 of the Complaint.            The Sheriff is without

   information or knowledge sufficient to admit or deny the remaining allegations of

   paragraph 13 of the Complaint and therefore denies the same.

         14.    The Sheriff is without information or knowledge sufficient to admit or deny

   the allegations of paragraph 14 of the Complaint and therefore denies the same.

         15.    The Sheriff admits the allegations contained in paragraph 15 of the

   Complaint, but affirmatively alleges that there are additional reasons not listed in

   paragraph 15 of the Complaint under which an inmate might be assigned to PC or

   Adseg at the JCDF.

         16.    The Sheriff admits that Mr. Sims was housed in protective custody while

   he was detained at the JCDF as alleged in paragraph 16 of the Complaint. The Sheriff

   is without information or knowledge sufficient to admit or deny the remaining allegations

   of paragraph 16 of the Complaint and therefore denies the same.


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         17.    The Sheriff admits the allegations contained in paragraph 17 of the

   Complaint.

         18.    The Sheriff admits that for a portion of the time Mr. Sims was at the JCDF,

   inmate Goodloe was being held in protective custody in a cell next to Mr. Sims, cell 48,

   as alleged in paragraph 18 of the Complaint.

         19.    The Sheriff admits the allegations contained in the first and second

   sentences of paragraph 19 of the Complaint.         The Sheriff denies the remaining

   allegations in paragraph 19 of the Complaint.

         20.    The Sheriff admits the allegations in paragraph 20 of the Complaint.

         21.    The Sheriff admits that the cells 42 and 44 of unit 6D of the JCDF are

   designed the same as cells 46 and 48 of unit 6D and that the inmates housed in cells 42

   and 44 share the use of a day room as alleged in paragraph 21 of the Complaint. The

   Sheriff is without information or knowledge sufficient to admit or deny the remaining

   allegations of paragraph 21 of the Complaint and therefore denies the same.

         22.    The Sheriff admits that Shawn Shields was purportedly a member of the

   Aryan Syndicate as is alleged in paragraph 22 of the Complaint. The Sheriff denies the

   remaining allegations contained in paragraph 22 of the Complaint.

         23.    The Sheriff is without information or knowledge sufficient to admit or deny

   the allegations of paragraph 23 of the Complaint and therefore denies the same.

         24.    The Sheriff is without information or knowledge sufficient to admit or deny

   the allegations of paragraph 24 of the Complaint and therefore denies the same.

         25.    The Sheriff is without information or knowledge sufficient to admit or deny

   the allegations of paragraph 25 of the Complaint and therefore denies the same.


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         26.    The Sheriff admits the allegations of paragraph 26 of the Complaint.

         27.    The Sheriff admits the allegations of paragraph 27 of the Complaint.

         28.    The Sheriff is without information or knowledge sufficient to admit or deny

   the allegations of paragraph 28 of the Complaint and therefore denies the same.

         29.    The Sheriff admits the allegations of paragraph 29 of the Complaint.

         30.    The Sheriff admits the allegations of paragraph 30 of the Complaint.

         31.    The Sheriff admits the allegations of paragraph 31 of the Complaint.

         32.    The Sheriff admits the allegations of paragraph 32 of the Complaint.

         33.    The Sheriff is without information or knowledge sufficient to admit or deny

   the allegations of paragraph 33 of the Complaint and therefore denies the same.

         34.    The Sheriff denies the allegations of paragraph 34 of the Complaint.

         35.    The Sheriff admits that a deputy must manually unlock the shower door in

   order to provide access from the inmate in the day room to take a shower as alleged in

   paragraph 35 of the Complaint. The Sheriff denies all remaining allegations contained

   in paragraph 35 of the Complaint.

         36.    The Sheriff is without information or knowledge sufficient to admit or deny

   the allegations of paragraph 36 of the Complaint and therefore denies the same.

         37.    The Sheriff denies the allegations of paragraph 37 of the Complaint.

         38.    The Sheriff is without information or knowledge sufficient to admit or deny

   the allegations of paragraph 38 of the Complaint and therefore denies the same.

         39.    The Sheriff denies the allegations of paragraph 39 of the Complaint.

         40.    The Sheriff denies the allegations of paragraph 40 of the Complaint.

         41.    The Sheriff denies the allegations of paragraph 41 of the Complaint.


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         42.    The Sheriff denies the allegations of paragraph 42 of the Complaint.

         43.    The Sheriff denies the allegations of paragraph 43 of the Complaint.

         44.    The Sheriff denies the allegations of paragraph 44 of the Complaint.

         45.    The Sheriff denies the allegations of paragraph 45 of the Complaint.

         46.    The Sheriff admits the allegations of paragraph 46 of the Complaint.

         47.    The Sheriff admits that Mr. Sims was found with a tube sock tied around

   his neck as alleged in paragraph 47 of the Complaint. The Sheriff is without information

   or knowledge sufficient to admit or deny the remaining allegations of paragraph 47 of

   the Complaint and therefore denies the same.

         48.    The Sheriff is without information or knowledge sufficient to admit or deny

   the allegations of paragraph 48 of the Complaint and therefore denies the same.

         49.    The Sheriff admits that Mr. Sims’ had injuries around his right eye as

   alleged in paragraph 49 of the Complaint. The Sheriff denies the remaining allegations

   regarding the nature and scope of those injuries alleged in paragraph 49 of the

   Complaint.

         50.    The Sheriff admits the allegations of paragraph 50 of the Complaint.

         51.    The Sheriff admits the allegations of paragraph 51 of the Complaint.

         52.    The Sheriff is without information or knowledge sufficient to admit or deny

   the allegations of paragraph 52 of the Complaint and therefore denies the same.

         53.    The allegations contained in paragraph 53 refer to a public document, the

   death certificate, which speaks for itself and does not require any admission or denial.

         54.    The Sheriff admits that the Jefferson County Coroner’s Office issued a

   final determination of death ruling Mr. Sims’ death a suicide as alleged in paragraph 54


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   of the Complaint.   The Sheriff, however, believes that this final determination was

   issued on November 15, 2005, not November 17, 2005, as alleged in the Complaint.

         55.    The Sheriff is without information or knowledge sufficient to admit or deny

   the allegations of paragraph 55 of the Complaint and therefore denies the same.

         56.    The Sheriff admits the allegations contained in paragraph 56 of the

   Complaint.

         57.    The Sheriff is without information or knowledge sufficient to admit or deny

   the allegations of paragraph 57 of the Complaint and therefore denies the same.

         58.    The Sheriff is without information or knowledge sufficient to admit or deny

   the allegations of paragraph 58 of the Complaint and therefore denies the same.

         59.    The Sheriff denies the allegations contained in paragraph 59 of the

   Complaint.

         60.    The Sheriff is without information or knowledge sufficient to admit or deny

   the allegations of paragraph 60 of the Complaint and therefore denies the same.

         61.    The Sheriff affirmatively alleges Shawn Shields did inform the FBI in 2007

   that, in exchange for being transferred to a federal prison, he would confess to the

   murder of Mr. Sims and another inmate as alleged in paragraph 61 of the Complaint.

         62.    The Sheriff admits that the Jefferson County District Attorney’s Office is

   currently investigating the death of Mr. Sims as alleged in paragraph 62 of the

   Complaint.




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                                   V.     Claims for Relief

                                    First Claim for Relief
                     42 U.S.C. § 1983—14th Amendment Due Process
                Deliberate Indifference to an Obvious Risk of Serious Harm

         63.     The Sheriff hereby incorporates his responses to paragraphs 1 through 62

   of the Complaint as if set forth fully herein as his response to paragraph 63 of the

   Complaint.

         64.     The Sheriff admits the allegations contained in paragraph 64 of the

   Complaint.

         65.     The Sheriff is without information or knowledge sufficient to admit or deny

   the allegations of paragraph 65 of the Complaint and therefore denies the same.

         66.     The Sheriff denies the allegations contained in paragraph 66 of the

   Complaint.

         67.     The Sheriff denies the allegations contained in paragraph 67 of the

   Complaint.

         68.     The Sheriff denies the allegations contained in paragraph 68 of the

   Complaint.

         69.     The Sheriff denies the allegations contained in paragraph 69 of the

   Complaint.

         70.     The Sheriff denies the allegations contained in paragraph 70 of the

   Complaint.

         71.     The Sheriff denies the allegations contained in paragraph 71 of the

   Complaint.




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         72.    The Sheriff denies the allegations contained in paragraph 72 of the

   Complaint.

         73.    The Sheriff denies the allegations contained in paragraph 73 of the

   Complaint.

         74.    The Sheriff denies the allegations contained in paragraph 74 of the

   Complaint. The Sheriff further affirmatively alleges that Mr. Sims’ death was a suicide

   and was not caused by any other inmate at the JCDF.

         75.    The Sheriff denies the allegations contained in paragraph 75 of the

   Complaint. The Sheriff further affirmatively alleges that Mr. Sims’ death was a suicide

   and was not caused by any other inmate at the JCDF.

         76.    The Sheriff denies the allegations contained in paragraph 76 of the

   Complaint.

                                  Second Claim for Relief

    42 U.S.C. § 1983—14th Amendment Substantive Due Process—Failure to Protect

         77.    The Sheriff hereby incorporates his responses to paragraphs 1 through 76

   of the Complaint as if set forth fully herein as his response to paragraph 77 of the

   Complaint.

         78.    The Sheriff is without information or knowledge sufficient to admit or deny

   the allegations of paragraph 78 of the Complaint and therefore denies the same.

         79.    Paragraph 79 of the Complaint is a purported statement of law and not a

   factual allegation that requires an admission or denial. To the extent an answer to

   paragraph 79 of the Complaint is required, the Sheriff denies those allegations.




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         80.    The Sheriff denies the allegations contained in paragraph 80 and subparts

   (a) and (b) to paragraph 80 of the Complaint.

         81.    The Sheriff denies the allegations contained in paragraph 81 of the

   Complaint.

         82.    The Sheriff denies the allegations contained in paragraph 82 of the

   Complaint.

         83.    The Sheriff denies the allegations contained in paragraph 83 of the

   Complaint.

         84.    The Sheriff denies the allegations contained in paragraph 84 of the

   Complaint.

         85.    The Sheriff denies the allegations contained in paragraph 85 of the

   Complaint.

         86.    The Sheriff denies the allegations contained in paragraph 86 of the

   Complaint.

         87.    The Sheriff denies the allegations contained in paragraph 87 of the

   Complaint.

         88.    The Sheriff denies the allegations contained in paragraph 88 of the

   Complaint.

                                   Third Claim for Relief

     42 U.S.C. § 1983—14th Amendment Substantive Due Process—Danger Creation

         89.    The Sheriff hereby incorporates his responses to paragraphs 1 through 88

   of the Complaint as if set forth fully herein as his response to paragraph 89 of the

   Complaint.


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         90.    The Sheriff is without information or knowledge sufficient to admit or deny

   the allegations of paragraph 90 of the Complaint and therefore denies the same.

         91.    The Sheriff denies the allegations contained in paragraph 91 and subparts

   (a) and (b) to paragraph 91 of the Complaint.

         92.    The Sheriff is without information or knowledge sufficient to admit or deny

   the allegations of paragraph 92 of the Complaint and therefore denies the same.

         93.    The Sheriff denies the allegations contained in paragraph 93 of the

   Complaint.

         94.    The Sheriff denies the allegations contained in paragraph 94 of the

   Complaint.

         95.    The Sheriff denies the allegations contained in paragraph 95 of the

   Complaint.

         96.    The Sheriff denies the allegations contained in paragraph 96 of the

   Complaint.

         97.    The Sheriff denies the allegations contained in paragraph 97 of the

   Complaint.

         98.    The Sheriff denies the allegations contained in paragraph 98 of the

   Complaint. The Sheriff affirmatively alleges that the cause of Mr. Sims’ death was a

   suicide and was not caused by the actions of any other inmate at the JCDF.

         99.    The Sheriff denies the allegations contained in paragraph 99 of the

   Complaint.

         100.   The Sheriff denies the allegations contained in paragraph 100 of the

   Complaint.


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          101.   The Sheriff denies the allegations contained in paragraph 101 of the

   Complaint.

          102.   The Sheriff denies the allegations contained in paragraph 102 of the

   Complaint.

          103.   The Sheriff affirmatively denies that Plaintiff is entitled to any of the relief

   set forth in the “Wherefore” section of the Complaint following paragraph 102 of the

   Complaint and, therefore, denies all allegations contained therein.

                                         General Denial

          The Sheriff denies each and every other allegation contained in the Complaint,

   except to the extent expressly and specifically admitted herein.



                                   AFFIRMATIVE DEFENSES

                                           First Defense

          The Complaint fails to state a claim upon which relief can be granted.

                                         Second Defense

          All or part of Plaintiff’s claims fail to rise to the level of constitutional violations

   sufficient to state any claim for relief under 42 U.S.C. § 1983.

                                          Third Defense

          All or part of Plaintiff’s claims are barred by the doctrine of qualified immunity.

                                          Fourth Defense

          Plaintiff’s official capacity claims are barred on grounds that they are not based

   on any policy, practice, or custom.




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                                           Fifth Defense

           All of Plaintiff’s claims are barred by the applicable two-year statute of limitations.

                                           Sixth Defense

           The individual capacity claims asserted against the Sheriff are barred because of

   the lack of personal participation of the Sheriff in any alleged constitutional violation.

                                         Seventh Defense

           The Sheriff cannot be held liable for any acts or omissions of others including the

   Plaintiff.

                                          Eighth Defense

           There is no vicarious or respondent superior liability theory applicable to 42

   U.S.C. §1983 claims.

                                          Ninth Defense

           Plaintiff has failed to mitigate its damages, if any, as required by law.

                                          Tenth Defense

           Some or all of the damages alleged, if any, by Plaintiff were caused by actions of

   third parties, including the Plaintiff, or circumstances over which the Sheriff had no

   control.

                                        Eleventh Defense

           Plaintiff’s claims for punitive damages are barred because the Plaintiff cannot

   meet the Section 1983 standard for such damages.              Smith v. Wade, 461 U.S. 30

   (1983).

                                         Twelfth Defense

           Plaintiff’s damages were caused by a superseding or intervening cause.


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                                    Thirteenth Defense

         The Sheriff is currently without knowledge of facts, which would form the basis

   for further affirmative defenses regarding Plaintiff’s claims. The Sheriff reserves the

   right to assert any such defenses should factual bases become known during discovery

   or otherwise.

                            SHERIFF’S REQUEST FOR RELIEF

         WHEREFORE, the Sheriff respectfully requests that this Court enter judgment in

   his favor and against Plaintiff, and for any such further relief as the Court deems just

   and proper.


         Dated this 23rd day of November, 2009.

                                    ELLEN G. WAKEMAN
                                    JEFFERSON COUNTY ATTORNEY

                                            s/ Writer Mott
                                    By: _________________________________
                                          Writer Mott
                                          James L. Burgess
                                          Assistant County Attorneys
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                                   CERTIFICATE OF SERVICE

   I hereby certify that on this 23rd day of November, 2009, I filed the foregoing ANSWER
   TO AMENDED COMPLAINT via the U.S. District Court ECF System, which will send
   notification and a copy via email to:


   David A. Lane
   Sara L. Rich
   KILLMER, LANE & NEWMAN, LLP
   1543 Champa St., Ste. 400
   Denver, CO 80202



                                                  s/ Deborah Hokanson

                                                  Deborah Hokanson, Legal Assistant




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